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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

JESSICA LITTLEFIELD, Individually,                  :
                                                    :
               Plaintiff,                           :
                                                    :    COMPLAINT
v.                                                  :    42 U.S.C. § 12181 et seq.
                                                    :
195 CONGRESS STREET LLC ,                           :    Case No.:___________
     a Maine Limited Liability Company              :
                                                    :
            Defendant.                              :
_______________________________________/

                                          COMPLAINT
                                      (Injunctive Relief Demanded)

       Plaintiff, JESSICA LITTLEFIELD, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, 195

CONGRESS STREET LLC, a Maine Limited Liability Company, (sometimes referred to as

“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.     Plaintiff is a Maine resident, lives in South Portland Maine, is sui juris, and qualifies as an

       individual with disabilities as defined by the ADA. Plaintiff is bound to ambulate in a

       wheelchair and has difficulty using her hands.

2.     Defendant's property, Ruski's, 212 Danforth Street, Portland, Maine 04103, is located in the

       County of Cumberland.

3.     Venue is properly located in the District of Maine because venue lies in the judicial district of

       the property situs. The Defendant’s property is located in and does business within this judicial

       district.

4.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

       jurisdiction over actions which arise from the Defendant’s violations of Title III of the

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        Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and §

        2202.

     5. Plaintiff has visited the property which forms the basis of this lawsuit and plans to return to the

        property to avail herself of the goods and services offered to the public at the property, and to

        determine whether the property has been made ADA compliant. The Plaintiff has encountered

        architectural barriers at the subject property which discriminate against her on the basis of her

        disability and have endangered her safety. These barriers also prevent Plaintiff from returning

        to the property to enjoy the goods and services available to the public.

6.      Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of the

        Defendant’s discrimination until the Defendant is compelled to comply with the requirements of

        the ADA. Plaintiff is deterred from, and is denied the opportunity to participate and benefit

        from the goods, services, privileges, advantages, facilities and accommodations at Defendant's

        property equal to that afforded to other individuals. Plaintiff is aware that it would be a futile

        gesture to attempt to visit Defendant's property if she wishes to do so free of discrimination.

7.      Defendant owns, leases, leases to, or operates a place of public accommodation as defined by

        the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. Defendant

        is responsible for complying with the obligations of the ADA. The place of public

        accommodation that the Defendant owns, operates, leases or leases to is known as Ruski's.

8.      Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

        Defendant’s non-compliance with the ADA with respect to this property as described but

        not necessarily limited to the allegations in paragraph 10 of this Complaint. Plaintiff has

        reasonable grounds to believe that she will continue to be subjected to discrimination in

        violation of the ADA by the Defendant. Plaintiff desires to not only to avail herself of the goods

        and services available at the property but to assure herself that this property is in compliance

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          with the ADA so that she and others similarly situated will have full and equal enjoyment of

          the property without fear of discrimination.

9.        The Defendant has discriminated against the Plaintiff by denying her access to, and full and

          equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

          accommodations of the subject property, as prohibited by 42 U.S.C. § 12182 et seq. The

          Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

          violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992 (or

          January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000 or

          less).

       10. A preliminary inspection of Ruski's has shown that ADA violations exist. These violations

          include, but are not limited to:

i.        There is no level landing at the entrance door, only steps;
ii.       There is no lowered section at the bar;
iii.      There is insufficient accessible seating at the facility;

Women’s Restroom:

i.      The entryway leading to the restroom is too narrow;
ii.     There is no accessible stall;
iii.    There is insufficient maneuvering and transfer space inside the stall;
iv.     There are no grab bars provided;
v.      The restroom door lacks accessible signage;
vi.     There is no knee clearance under the sink due to cabinetry;
vii.    The restroom door contains knob hardware, which requires twisting and/or grasping of the
wrist to operate;
viii. The mirror is too high;
ix.     The paper towel dispenser is out of reach and is a protruding object.


11.       The discriminatory violations described in paragraph 10 are not an exclusive list of the

          Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of public

          accommodation in order to photograph and measure all of the discriminatory acts violating the

          ADA and all of the barriers to access. The Plaintiff, and all other individuals similarly situated,

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      have been denied access to, and have been denied the benefits of services, programs and

      activities of the Defendant’s buildings and its facilities, and have otherwise been discriminated

      against and damaged by the Defendant because of the Defendant’s ADA violations, as set forth

      above. The Plaintiff and all others similarly situated will continue to suffer such discrimination,

      injury and damage without the immediate relief provided by the ADA as requested herein. In

      order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

      Defendant’s place of public accommodation in order to determine all of the areas of non-

      compliance with the Americans with Disabilities Act.

12.   Defendant has discriminated against the Plaintiff by denying her access to full and equal

      enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

      its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et

      seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to discriminate against

      the Plaintiff, and all those similarly situated by failing to make reasonable modifications in

      policies, practices or procedures, when such modifications are necessary to afford all offered

      goods, services, facilities, privileges, advantages or accommodations to individuals with

      disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

      with a disability is excluded, denied services, segregated or otherwise treated differently than

      other individuals because of the absence of auxiliary aids and services.

13.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

      retained the undersigned counsel and is entitled to recover attorney’s fees, costs and litigation

      expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

14.   Defendant is required to remove the existing architectural barriers to the physically disabled

      when such removal is readily achievable for its place of public accommodation that have

      existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

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      alteration to Defendant’s place of public accommodation since January 26, 1992, then the

      Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

      facility are readily accessible to and useable by individuals with disabilities, including

      individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one

      which was designed and constructed for first occupancy subsequent to January 26, 1993, as

      defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

      useable by individuals with disabilities as defined by the ADA.

15.   Notice to Defendant is not required as a result of the Defendant’s failure to cure the violations

      by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

      receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff or

      waived by the Defendant.

16.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff Injunctive

      Relief, including an order to require the Defendant to alter its facility to make those facilities

      readily accessible and useable to the Plaintiff and all other persons with disabilities as defined

      by the ADA; or by closing the facility until such time as the Defendant cures its violations of

      the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans with

             Disabilities Act, 42 U.S.C. § 12181 et seq.

      b.     Injunctive relief against the Defendant including an order to make all readily achievable

             alterations to the facility; or to make such facility readily accessible to and usable by

             individuals with disabilities to the extent required by the ADA; and to require the

             Defendant to make reasonable modifications in policies, practices or procedures, when

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      such modifications are necessary to afford all offered goods, services, facilities,

      privileges, advantages or accommodations to individuals with disabilities; and by failing

      to take such stops that may be necessary to ensure that no individual with a disability is

      excluded, denied services, segregated or otherwise treated differently than other

      individuals because of the absence of auxiliary aids and services.

c.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §

      12205.

d.    Such other relief as the Court deems just and proper, and/or is allowable under Title III

      of the Americans with Disabilities Act.

                                    Respectfully Submitted,

                                     /s/Lynne Williams
                                     Lynne Williams, Esq., Of Counsel
                                     Thomas B. Bacon, P.A.
                                     13 Albert Meadow
                                     Bar Harbor, ME 04609
                                     207-266-6327
                                     LWilliamsLaw@earthlink.net
                                     Maine Bar No. 9267




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